SO ORDERED.

SIGNED this 18th day of December, 2020.




____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF KANSAS

    In re:                                                  )
                                                            )        Chapter 11
    ABENGOA BIOENERGY BIOMASS OF                            )
    KANSAS, LLC,                                            )        Case No. 16-10446
                                                            )
                     Debtor.                                )        Judge Dale L. Somers
                                                            )

    FINAL DECREE CLOSING CHAPTER 11 CASE PURSUANT TO 11 U.S.C. § 350(A)
    AND BANKRUPTCY RULE 3022, AND SETTING DATE FOR THE TERMINATION
              OF THE TRUST AND DISCHARGE OF THE TRUSTEE

             Upon the motion (the “Motion”) 1 of Mark D. Kozel, as Liquidating Trustee (the “Trustee”)

for the ABBK Liquidating Trust (the “ABBK Trust”), for entry of a final decree (this “Final

Decree”) closing the Case, setting a date for the termination of the ABBK Trust and discharge of

the Trustee, and granting related relief, all as more fully set forth in the Motion; and it appearing

that the relief requested is in the best interests of the Debtor’s estates, its creditors, and other parties



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    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Motion.



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in interest; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been adequate

and appropriate under the circumstances; and having found that the Trustee has fulfilled, or made

sufficient provision for the fulfillment, of all of his duties and obligations as Trustee; and after due

deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

        1.      The Motion is granted.

        2.      The Case is hereby closed.

        3.      The ABBK Trust shall automatically terminate and the Trustee shall automatically

be discharged effective March 30, 2021 (the “Termination Date”); provided, however, that the

Trustee shall have the authority to take such further actions after the Termination Date as he deems

reasonably necessary to wind up the affairs of the ABBK Trust, including, without limitation, to

comply with all tax reporting obligations of the ABBK Trust (such as the filing of any tax returns

or other required documents or information with any taxing authority, and providing any required

documents or information to beneficiaries of the ABBK Trust) and to close the bank account of

the ABBK Trust, and the ABBK Trust shall be deemed to continue to exist after the Termination

Date solely to the extent necessary for the Trustee to take such actions.

        4.      Entry of this Final Decree is without prejudice to the rights of the Debtor, the ABBK

Trust, the Trustee, or any other party in interest to: (a) seek to reopen the Case for good cause

shown in accordance with section 350(b) of the Bankruptcy Code; (b) to seek to extend the duration

of the ABBK Trust beyond the Termination Date so long as such request to extend the duration of



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the ABBK Trust is made before the occurrence of the Termination Date; or (c) to seek to reopen

the ABBK Trust after the Termination Date if the Case is subsequently reopened pursuant to

section 350(b) of the Bankruptcy Code.

        5.      This Court will retain jurisdiction to enforce or interpret its own orders pertaining

to this Case.

        6.      For the purposes of calculating quarterly fees payable to the Office of the United

States Trustee for the District of Kansas in accordance with 28 U.S.C. § 1930(a)(6), all

disbursements made in the fourth quarter of 2020 will be included in the calculation, and the

Trustee shall pay these amounts promptly.

        7.      The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Final Decree in accordance with the Motion.

                                                ###
                                                       Approved by:
Submitted by:
                                                       /s/ Michael A. VanNiel_____________
/s/ Bruce J. Woner                                     Michael A. VanNiel (OH #0073948)
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                                                       Trustee for the ABBK Liquidating Trust



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